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 5   Advisory Counsel for Defendant
     MICHAEL JOHN AVENATTI
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 7
                              UNITED STATES DISTRICT COURT
 8
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
11               Plaintiff,                        TRIAL BRIEF IN SUPPORT OF THE
12                      v.                         SUBPOENAED TESTIMONY OF
                                                   SPECIAL AGENTS DELEASSA
13   MICHAEL JOHN AVENATTI,                        PENLAND AND CHRIS HARPER
14               Defendant.
15
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17          Prior to opening statements and in anticipation of his case-in-chief, Mr. Avenatti
18   served trial subpoenas on five government Special Agents – Remoun Karlous, James
19   Kim, Ryan Roberson, DeLeassa Penland, and Chris Harper. Special Agents Penland and
20   Harper were served in the Southern District of New York. See e.g., [Dkt. 614, pgs. 12-
21   15].
22          On July 31, 2021, Mr. Avenatti filed a “Motion for Reconsideration of the Court’s
23   Order Deeming Defendant’s Five Subpoenas Served on Government Agents Ineffective
24   due to Failure to Comply with Touhy Regulations.” [Dkt. 614]. On August 2, 2021, the
25   government filed an Opposition. [Dkt. 630].
26          On August 3, 2021, the Court heard the defendant’s motion. The Court
27   reconsidered its prior Order and vacated its prior ruling that quashed the prior subpoenas
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 1   related to Special Agents James Kim, Ryan Roberson and Remoun Karlous. As it relates
 2   to Special Agents DeLeassa Penland and Chris Harper, the Court ordered the defendant
 3   to provide a statement as to whether other Special Agents, who are local to the Central
 4   District of California, were present during the interviews, witness preparation sessions,
 5   or other relevant meetings.
 6         Attached as Exhibit A is a chart evidencing the sessions where either Special
 7   Agent Harper or Special Agent Penland conducted or participated in a meeting,
 8   interview or other relevant witness preparation session where a CDCA local agent was
 9   not present. As shown by Exhibit A, Special Agents Penland and/or Harper had at least
10   five contacts with Ms. Regnier where a local, CDCA based Special Agent was not
11   present. As further shown by Exhibit A, there were times where AUSA Sagel and/or
12   former AUSA Andre were present during these encounters. However, Mr. Avenatti finds
13   it unlikely and impractical that the defendant would be permitted to call AUSA Sagel
14   and/or former AUSA Andre during his defense case.
15         The Supreme Court has held that a criminal defendant is permitted to attack law
16   enforcement’s investigation, motivation and alleged good faith in connection with his
17   defense. See Kyles v. Whitley, 514 U.S. 419, 445-449 (1995). Simply put, a criminal
18   defendant is entitled to put the investigation and its motivations on trial and is likewise
19   permitted to attack the investigation and prosecution in front of the jury by examining
20   witnesses and in closing argument. See also United States v. Hanna (9th Cir. 1995) 55
21   F.3d 1456; United States v. Sager (9th Cir. 2000) 227 F.3d 1138, 1145-1146.
22         Mr. Avenatti provides the information contained in Exhibit A in support of his
23   request for the Court to vacate its prior Order quashing the subpoenas for Special Agent
24   DeLeassa Penland and Special Agent Chris Harper due to defendant’s failure to comply
25   with Touhy regulations.
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      Dated: August 3, 2021                 Respectfully submitted,
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 2                                         /s/ Michael J. Avenatti
 3                                         Defendant
                                           MICHAEL JOHN AVENATTI
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                                      EXHIBIT A
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           Date           Description               Beginning           Parties Present
                                                  USAO Bates No.
                     US DOJ Consent to                             Judy Regnier and Special
10/20/2019           Search Electronic, Storage USAO_00460511      Agents DeLeassa Penland,
                     Media or Online Account.                      and Melissa Galicia
                     Encounter with witness
                     Judy Regnier.
                                                                   Judy Regnier, AUSAs
1/09/2020            Interview with Judy         USAO_00460533     Robelman, Sagel, Padolsky,
                     Regnier                                       “AUSA D.” as well as Special
                                                                   Agents Penland and Harper.
                                                                   Judy Regnier, AUSAs
1/16/2020            Interview of Judy Regnier   USAO_00460560     Soberlman, Podolsky, as well
                                                                   as Special Agents Penland,
                                                                   Galicia, and Harper.
                                                                   Judy Regnier, AUSA
1/17/2020 (sic)      Interview of Judy Regnier   USAO_00460564     Sobelman and Special Agent
                                                                   Penland
                                                                   Judy Regnier, AUSAs
2/4/2020             Interview of Judy Regnier   USAO_00460599     Sobelman and Sagel
                                                                   (telephonically) as well as
                                                                   Special Agents Penland and
                                                                   Harper.
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 1
                                  CERTIFICATE OF SERVICE

 2          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.
 4
 5   I am not a party to the above-entitled action. I have caused, on August 3, 2021, service of

 6   the:
 7
       TRIAL BRIEF IN SUPPORT OF THE SUBPOENAED TESTIMONY OF SPECIAL
 8               AGENTS DELEASSA PENLAND AND CHRIS HARPER
 9
     on the following party, using the Court’s ECF system:
10
     AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
12   I declare under penalty of perjury that the foregoing is true and correct.
13
     Executed on August 3, 2021
14
15                                           /s/ H. Dean Steward
16                                           H. Dean Steward
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